Case 2:08-cr-00655-JS    Document 148   Filed 01/31/11       Page 1 of 12 PageID #: 689

                                           U.S. Department of Justice


                                           United States Attorney
                                           Eastern District of New York

JMM:CNC                                    United States Attorney’s Office
F.#2003R02020                              610 Federal Plaza
                                           Central Islip, New York 11722-4454

                                           January 31, 2011

BY HAND & BY ECF

James R. Froccaro, Jr., Esq.
20 Vanderventer Avenue, Ste. 103 West
Port Washington, New York 11050

                Re:   United States v. Christian Tarantino
                      Criminal Docket No. 08-655 (JS)

Dear Mr. Froccaro:

          Pursuant to Rule 16(a)(1)(G) of the Federal Rules of
Criminal Procedure, we provide the following written summaries of
testimony we expect the following experts to provide at trial.

A.    Kenneth Marr
      Forensic Audio Examiner, FBI Laboratory

      1.        Audio Authenticity Examination

           The government previously provided you with Kenneth
Marr’s résumé. You have also previously received Mr. Marr’s
Report of Examination, dated May 23, 2005. Enclosed please find
documents labeled 3500-KM-1, which include work papers and raw
data pertaining to Mr. Marr’s authenticity examination (bates-
numbered KM-000000001-131). In sum and substance, Mr. Marr will
testify, among other things, that, based on his audio
authenticity examination, he found that the Radio Shack MC-90
audio microcassette (referred to as Q39 by the FBI Laboratory)
that he examined in connection with this case contains no
physical cuts or alterations. Mr. Marr will further testify
that, based upon his examination, he concluded that the
designated area of Q39 is original, continuous and unaltered.
The “designated area” begins at counter approximately 609
(approximately at time 55:50) and runs to the end of the
recording.

          Mr. Marr will testify that in conducting his testing of
Q39, he used six (6) different categories of analysis. As listed
in his report, they were: critical listening, narrow-band
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 2 of 12 PageID #: 690


                                                                                2

spectrum, magnetic development, spectrographic, physical
inspection and high-resolution waveform. Mr. Marr will explain
what each category of analysis means, its purpose, value and his
findings in this particular case based on each form of analysis.

          Mr. Marr will explain that he began his examination
with critical listening analysis. During this category of
analysis, Mr. Marr listened to the recording with head phones on
the computer while watching a high-resolution waveform display
across the computer screen. While engaging in critical
listening, Mr. Marr prepared a chronology of what he heard,
including possible record events, background noises and the
continuity of the context of the conversations (see KM-000000009-
12). During his analysis, Mr. Marr went back to these points to
conduct additional testing.

          Mr. Marr will further explain that during the physical
inspection of Q39, the microcassette is placed in a small jig,
which holds the plastic tape housing in a fixed position. The
magnetic tape is then taken out of the housing and routed through
rollers, which hold the magnetic tape as it is manually advanced.
A high-intensity light is then shone through the magnetic tape.
Mr. Marr visually inspected the front and back of the magnetic
tape from the beginning of the tape to the end of the tape,
looking for damage to the tape, splices and tabs. Mr. Marr found
no evidence that the tape had been cut and spliced. Mr. Marr
found minor edge damage and occasional color discoloration, which
is common and does not affect the authenticity of the tape. In
addition, the physical inspection of Q39 revealed a broken and
missing housing post, which does not impede the tape’s movement.

          Mr. Marr will explain narrow-band spectrum analysis,
including that during narrow-band spectrum analysis, the audio is
displayed on a computer screen with the frequency on the
horizontal and the intensity on the vertical. The documents
bates-labeled KM-0000000041-43 are narrow-band spectrum displays
(also referred to as "FFT displays") printed by Mr. Marr during
his analysis of Q39. Mr. Marr will testify, among other things,
that one of the values of narrow-band spectrum analysis is to
help identify when a tape is a copy. One indication that an
analog tape recording has been copied onto another analog tape is
the presence of side-band tones. Mr. Marr will explain what a
side-band tone is and testify that he found no side-band tones
during his analysis of the designated area of Q39.

          During his testimony, Mr. Marr will also discuss high-
resolution waveform analysis. Mr. Marr will explain, among other
things, that high resolution waveform provides a different type
of display for viewing the same audio. High resolution waveform
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 3 of 12 PageID #: 691


                                                                                3

displays time on the horizontal and intensity on the vertical.
The documents bates-labeled KM-0000000044-66 are high-resolution
waveform displays printed by Mr. Marr during his analysis of Q39.
High-resolution waveform analysis is particularly valuable in
measuring differences in time between events and in attempting to
identify record events. Mr. Marr will discuss what record events
are and explain that they include, but are not limited to,
overrecordings, stop/starts and end stops.   Mr. Marr’s use of
high-resolution waveform analysis revealed overrecordings at
times 00:11, 00:12 and 00:13 (before the designated area).   An
overrecording occurs when audio was recorded on a tape on one
occasion and, at a later time, the same portion of the tape was
used to record new audio information.

          Mr. Marr will also discuss magnetic development
analysis. Among other things, Mr. Marr will explain that
magnetic development analysis consists of removing the magnetic
tape from the tape housing, positioning it flat on paper and
applying drops of fero fluid onto the magnetic tape. When the
fluid evaporates, the iron powder in the liquid aligns itself to
the magnetic audio tracks on the tape. This allows the examiner
to visually observe what the magnetic tracks look like on the
tape. Magnetic development analysis is a powerful tool for
analyzing analog audio tapes. The documents bates-labeled KM-
0000000067-105 are photocopies of photographs, taken through a
microscope, of different portions of the Q39 tape subjected to
magnetic development. (A photo-quality set of these photographs
is also enclosed, but this set is not bates-numbered). The
photograph bates-numbered KM-000000068 shows a portion of the
magnetic tape at approximately event 00:12. Mr. Marr will
explain that at approximately 25.1 (as indicated on the numeric
etchings on the glass plate under the tape)1, magnetic
development analysis shows that the height of the recorded
information changes abruptly. Mr. Marr will testify that this
abrupt change indicates that a different recorder was used
beginning at approximately 25.1.

          The photograph bates-numbered KM-000000069 indicates
that at approximately events 00:12 and 00:13 on the tape (marked
on the ruler at approximately 26 to 27), the record head height
gradually dipped and then rose again. Mr. Marr will explain that
the changes in record head height on the Q39 recording indicate
that it is an original recording and not a copy. The photograph
bates-numbered KM-000000105, at approximately event 1:34:53,
shows that the record head edgeline (the faint horizontal line on


      1
      The distance between each number on the glass ruler
(i.e., 24 to 25) is one-tenth of an inch.
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 4 of 12 PageID #: 692


                                                                                4

top of the vertical stripes) ends at approximately 63.1 on the
ruler, while the erase head edgeline (the faint horizontal line
on top of the vertical stripes that is slightly higher than the
record head edgeline) continues until approximately 63.6. Mr.
Marr will testify that event 1:34:53 is an end stop record event
and no audio follows. The recorder was forced to stop, as Side A
was at the end of the magnetic tape. Mr. Marr will further
testify that this is an original end stop. If Q39 were a copy,
the record head edgeline and erase head edgeline would have
continued from left to right at the same height, uninterrupted.

          Mr. Marr will testify that his findings were reviewed
by another qualified examiner, who agreed with Mr. Marr’s
findings.

      2.    Audio Enhancement

          Enclosed please find Mr. Marr’s Report of Examination,
dated January 25, 2011, pertaining to the enhancement of the
designated area of Q39. The report, work notes and raw data are
attached as 3500-KM-2 (bates numbered KM-000000132-144). Mr.
Marr will explain how he, working with two technicians of the FBI
Audio, Visual and Image Analysis Unit, enhanced the aural
intelligibility of the designated area of the audio recording
marked Q39. In sum and substance, Mr. Marr will testify that he
began by digitizing the recording from the microcassette directly
onto a computer. Then, using a digital filter, Mr. Marr and the
technicians removed the broadband noise on the recording. They
also used other digital filters to remove high frequency and low
frequency sounds in the recording. During the enhancement
process, Mr. Marr and the technicians listened to the audio
recording to ensure that they did not lose intelligibility while
applying various filters. Enclosed you will find an enhanced
copy of the designated area of Q39, dated January 21, 2011.

B.    Mark Basoa
      Firearms Examiner, NYPD (retired)

          Enclosed please find a copy of Mark Basoa’s résumé. On
September 16, 2003, Detective Basoa examined a bullet fragment
provided to him by the New York City Medical Examiner’s Office in
ME-03-4329 (deceased: Vincent Gargiulo). Det. Basoa examined the
fragment and described it in his report as one (1) defaced piece
of copper-coated lead, weighing 32.8 grains. Det. Basoa further
determined that the bullet fragment was unsuitable for comparison
testing. You were previously provided with Det. Basoa’s
“Microscopic Analysis Report.” Enclosed please find Det. Basoa’s
“Inventory Notes” and “Bullet Notes.”
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 5 of 12 PageID #: 693


                                                                                5

C.    Nicholas Mattia
      Forensic Examiner, NCPD (retired)

          The government previously provided you with Detective
Nicholas Mattia’s résumé. Det. Mattia examined bullet jacket and
core fragments provided to him by the Nassau County Medical
Examiner’s Office on June 24, 1994, in Case No. Hom-539-94
(deceased: Julius Baumgardt). Det. Mattia determined that the
fragments revealed class characteristics of a .40 caliber Smith &
Wesson or 10 millimeter bullet. Det. Mattia further determined,
based on his examination, that the bullet fragments came from a
Winchester Black Talon bullet. Det. Mattia will explain that a
Black Talon bullet is a jacketed hollow-point bullet with
perforations designed to expose sharp points and teeth upon
expansion. Black Talon bullets have a coating which give them a
black appearance. At the time of the Baumgardt shooting, Black
Talon bullets were manufactured exclusively by Winchester.

           Det. Mattia further determined that the bullet jacket
fragments revealed six right polygonal rifling characteristics.
Det. Mattia will explain that six grooves in the barrel of the
firearm which expelled the bullet examined by Det. Mattia caused
the six hills and valleys, which slanted to the right, on the
bullet jacket fragments. Det. Mattia will explain the difference
between polygonal rifling process and cut rifling process. Det.
Mattia will testify that in the Summer of 1994, only a few
firearms manufacturers used a polygonal rifling process to
manufacture the barrel of the firearm, and Glock was the most
common of those manufacturers. Det. Mattia concluded, through
microscopic examination, that the bullet fragments failed to
reveal sufficient rifling striation patterns for comparison
purposes. He further concluded that future comparison was
precluded.

D.    Paul Bigilin
      Latent Fingerprint Examiner, NCPD

          Enclosed please find the résumé and reports prepared by
Detective Paul Bigilin in connection with fingerprint analysis he
conducted on January 13, 2011. (Bates-numbered PRINT000000001 —
23). These documents also include copies of photographs,
fingerprint lifts and an arrest fingerprint card for Louis
Dorval. Det. Bigilin will explain what a latent fingerprint is
versus a known fingerprint, the process by which latent
fingerprints are identified and “lifted” off of items, how
fingerprints are compared and identified, and the basic factors
used in fingerprint identification. Det. Bigilin will further
testify that he compared a CU-5 photograph, originally received
at the Latent Fingerprint Section (“LFS”) on September 1, 1994 in
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 6 of 12 PageID #: 694


                                                                                6

connection with Homicide Case No. 94HS539 and RB24-94, against
the fingerprints on an arrest fingerprint card in the name of
Louis Dorval, Records Bureau Number 219249. Det. Bigilin
concluded that the latent impression on the CU-5 photograph
matched the left index finger on Dorval’s arrest fingerprint
card. Det. Bigilin further compared and identified the latent
impression on a light bulb received by the LFS to the right thumb
on the arrest fingerprint card of Dorval.

E.    Robert Otero
      Latent Fingerprint Examiner, NYPD (retired)

          Enclosed please find Detective Robert Otero's résumé.
Det. Otero currently works as a Senior Fingerprint Expert with
the Drug Enforcement Administration ("DEA"). Det. Otero will
explain what a latent fingerprint is versus a known fingerprint,
the process by which latent fingerprints are identified and
“lifted” off of items, how fingerprints are compared and
identified, and the basic factors used in fingerprint
identification. Det. Otero will further testify he compared
latent fingerprint evidence recovered from the Vincent Gargiulo
crime scene on August 18, 2003 – specifically, the lift of the
“right thumb print from the exterior of glass picture from left
phone booth on top of pay phone” and the lift of the “left thumb
from exterior of phone handle - left side phone booth” to the
arrest fingerprints of P.A. (see attached report for full name)
and positively identified the latent impressions as the
fingerprints of P.A. You were previously provided with Det.
Otero’s reports of analysis. Enclosed please find an unredacted
copy of his report pertaining to P.A., as well as a one page
document, entitled "Latent Print Examination, Certified Copy."

F.    Dr. Stuart L. Dawson, M.D.
      Medical Examiner

          The government will seek to qualify Dr. Stuart L.
Dawson as an expert in forensic pathology. You have already been
provided with a copy of Dr. Dawson’s résumé. Dr. Dawson, who was
formerly employed by the Office of the Medical Examiner for
Suffolk County, is expected to testify about the autopsy of Louis
Dorval, consistent with the autopsy reports, notes and
photographs previously produced for that murder. Specifically,
it is expected that Dr. Dawson will testify, among other things,
that Dorval’s death was caused by a single gunshot wound to the
back of his head, and that upon its discovery the condition of
Dorval’s body indicated that Dorval had been murdered
approximately three days prior.
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 7 of 12 PageID #: 695


                                                                                7

G.    Dr. Gerard Catanese, M.D.
      Medical Examiner

          The government will seek to qualify Dr. Gerard Catanese
as an expert in forensic pathology. You have already been
provided with a copy of Dr. Dawson’s résumé. Dr. Catanese, who
is employed by the Office of the Medical Examiner for Nassau
County, is expected to testify about the autopsy of Julius
Baumgardt, consistent with the autopsy report previously produced
for that murder, and with the autopsy notes, photographs and
other information contained on the enclosed compact disks labeled
“Baumgardt Autopsy Photos from Nassau County Medical Examiner’s
File” and “Nassau County Medical Examiner’s File – Julius
Baumgardt,” respectively. Specifically, it is expected that Dr.
Catanese will testify, among other things, that Mr. Baumgardt’s
death was caused by a single gunshot wound to the back of his
head and brain.

H.    Dr. John A. Hayes, Jr., M.D.
      Medical Examiner

          The government will seek to qualify Dr. John A. Hayes,
Jr. as an expert in forensic pathology. You have already been
provided with a copy of Dr. Hayes’ résumé. Dr. Hayes, who is
employed by the Office of the Chief Medical Examiner for the City
of New York, is expected to testify about the autopsy of Vincent
Gargiulo, consistent with the autopsy reports, notes and
photographs previously produced for that murder. Specifically,
it is expected that, among other things, Dr. Hayes will testify
that Gargiulo’s death was caused by a single gunshot wound, which
entered Gargiulo at the bridge of his nose and pierced both his
skull and brain.

I.    John R. Sardone
      Handwriting Expert, FBI Laboratory

          The government will seek to qualify John R. Sardone as
an expert in forensic document examination. Mr. Sardone is
currently employed as a Documents Examiner in the Questioned
Documents Unit of the Federal Bureau of Investigation’s New York
Field Office. You have already been provided with a copy of Mr.
Sardone’s résumé. It is expected that at trial Mr. Sardone will
render an expert opinion concerning the authorship of certain
numerals that were handwritten on a notepad found in a Corona,
Queens apartment that was utilized by Louis Dorval at the time of
his murder, in 1994. Mr. Sardone’s Report of Examination
concerning this matter, dated July 30, 2008, has already been
produced in a previous discovery disclosure.
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 8 of 12 PageID #: 696


                                                                                8

          It is expected that Mr. Sardone’s ultimate expert
opinion will be that while he was unable to reach a definite
conclusion concerning whether or not Christian Tarantino prepared
the numerals found on the notepad in Dorval’s apartment,
significant characteristics were observed when comparing that
writing to other writings known to have been authored by
Tarantino during the relevant time period to indicate that
Tarantino may have prepared the handwritten numbers. In
rendering that opinion, it is expected that Mr. Sardone will
describe the methodology he employed in order to compare the
handwriting contained on Q43.1 – a sheet of paper from the
notepad found in Dorval’s apartment in August 1994 – with various
known writings authored by Christian Tarantino during various
periods of time.

          Among other things, it is expected that Mr. Sardone
will describe the process by which he ascertained that Q43.1 and
the known Tarantino writings were original documents, and that
those documents were freely and naturally prepared. It is
expected that Mr. Sardone will also describe the process by which
he conducted a side-by-side comparison of Q43.1 and the known
Tarantino writings. In conducting that comparison, Mr. Sardone
evaluated the similarity and uniqueness of various features
displayed in the respective handwritings, including: drag strokes
contained in the writings; the evidence of pen pressures applied
in the writings; the structure, size, slant, and shape of the
characters contained in the writings; the speed with which the
characters were written; and the interrelationship and
configuration of the characters contained in the writings, among
other characteristics.

J.    Richard Lhota
      Handwriting Expert, NCPD (retired)

          The government will seek to qualify Richard Lhota as an
expert in forensic document examination. Mr. Lhota was formerly
employed as a Documents Examiner in the Scientific Investigation
Bureau of the Nassau County Police Department. A copy of Mr.
Lhota’s curriculum vitae will be provided under separate cover.
It is expected that at trial Mr. Lhota will render an expert
opinion with respect to an indented writing analysis he performed
on a notepad found in a Corona, Queens apartment that was
utilized by Louis Dorval at the time of his murder, in 1994. Mr.
Lhota’s Report of Examination concerning this matter, dated
October 5, 1994, has already been produced in a previous
discovery disclosure. It is expected that Mr. Lhota’s ultimate
expert opinion will be consistent with the information contained
in his Report of Examination, namely that one page of the notepad
found in Dorval’s apartment contained indented writing, and
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 9 of 12 PageID #: 697


                                                                                9

included the word “chris.”

          In rendering that opinion, it is expected that Mr.
Lhota will describe the methodology he employed in order to
uncover the indented writing on the notepad found in Dorval’s
apartment. Among other things, it is expected that Mr. Lhota
will describe the electrostatic detection process to which he
submitted the notepad.

          It is expected that, at trial, Mr. Lhota will explain
that he placed the notepad found in Dorval’s apartment in a
humidity chamber in order to loosen the various fibers contained
within the paper. It is also expected that Mr. Lhota will
describe how the notepad was subsequently placed on an
Electrostatic Detection Apparatus (ESDA), and a mylar sheet was
spread over the bed of the ESDA and the notepad. After a vacuum
suction is applied in order to fasten the mylar sheet and notepad
to the ESDA, Mr. Lhota will describe how he used a device called
a Corona to apply an electrical charge to the mylar sheet on top
of the notepad. It is expected that Mr. Lhota will further
explain that once the charge was applied, a solution containing a
ink-like substance was poured over the mylar sheet. Because of
the presence of the electrical charge, the ink-like substance was
subsequently drawn to the indentations in the notepad. It is
expected that Mr. Lhota will also explain that once the mylar
sheet was peeled away from the ESDA, the sheet revealed ink-
patterns consistent with where the indented writing was present
on the notepad.

K.    Robert Fram
      FBI Physical Scientist, Forensic Examiner (retired)

          The government previously provided you with Robert
Fram's résumé. In August 1994, the Suffolk County Medical
Examiner ("SCME") performed an autopsy of Louis Dorval, and
recovered, inter alia, a blood sample mounted on a card, and a
head hair. The head hair and blood card were transferred to FBI
Scientific Analysis Section in Quantico, Virginia
("FBI-Quantico) in September 1994 and designated K1, for "known
sample number one" and K2.

          On June 23, 1994, Nassau Police Department Crime Scene
Unit (“Nassau CSU”) detectives recovered, inter alia, hairs from
the stolen red Chevy Blazer that had been abandoned near Volt,
immediately after Julius Baumgardt's murder. Among other trace
evidence, the items included evidence mounted on a microscope
slide that was designated by FBI-Quantico in 2002 as Questioned
or Q30, for questioned item number 30. See photos at 3500-TEU-1.
Another slide contained a head hair, body hair and animal hairs,
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 10 of 12 PageID #: 698


                                                                               10

 id., which was designated Q34.

           On January 14, 2002, Trace Evidence Unit ("TEU")
 Physical Scientist, Forensic Examiner Robert Fram microscopically
 compared Q30, among other questioned samples, to K1, Dorval's
 known head hair. Fram will testify that both human and animal
 hairs consist of three morphological components: (1) the cuticle,
 or translucent outer layer; (2) the cortex; and (3) the medulla,
 or central, air-filled shaft.   These components exhibit typical
 variations depending upon whether originating from animal or
 human hair and, as to the latter, whether body or head hair.
 Furthermore, among humans, head hairs exhibit structures and
 characteristics enabling trained forensics examiners to make
 racial identifications of the hairs’ origin within one of three
 basic groups: (1) Caucasian (i.e., European), (2) Negroid (of
 African descent), or (3) Mongoloid (Asian and Native American).
 The method of typing hairs through forensic microscopy is set
 forth in 3500-TEU-2 and 3.

           Applying these methods, Fram will testify that he
 concluded that the human head hairs contained within Q30 and Q34
 were Caucasian head hairs ("COHH").

           Fram further concluded that these COHH were
 "microscopically dissimilar" from Dorval’s known head hair
 samples K1. Finally, Fram would testify that dissimilar
 microscopic appearances may be caused by, among other factors,
 the application of dye, such as hair coloring, between the time
 the first and second exemplar is obtained, as well as
 environmental factors, such as a hair’s submergence in sea water
 over a period of time.

 L.    Sandra L. Koch
       FBI Physical Scientist, Forensic Examiner

           The government previously provided you with Sandra
 Koch's résumé. On July 30, 2010, FBI-Quantico TEU Physical
 Scientist, Forensic Examiner Sandra L. Koch removed the COHH
 which Fram previously identified on the slide designated Q34.
 The separation of the COHH was performed in conjunction with the
 analysis of additional exemplars obtained by the FBI and
 submitted to FBI-Quantico since the Tarantino indictment in 2008.
 The recovered COHH from Q30 was designated Q34.1.

 M.    Dr. Constance L. Fisher
       Mitochondrial DNA Unit, FBI Laboratory

           The government previously provided you with Dr.
 Constance Fisher's résumé. Dr. Fisher will testify that
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 11 of 12 PageID #: 699


                                                                               11

 Deoxyribo Nucleic Acid (“DNA”) is a molecule found in most cells
 that has been determined to provide instructions for the
 replication of every components of the human body. DNA consists
 of two strands that form a twisted ladder whose “rungs” make
 pairs of “bases” designated G, C, A, T. The order of such bases
 can identify specific individuals or groups of individuals.

           In the case of nuclear DNA, where individuals inherit
 DNA from both parents, the resulting nuclear DNA forms a string
 of bases unique to a specific individual.

           Each cell also contains thousands of mitochondria,
 which control energy storage and usage. Each mitochondria within
 a person also exhibits a single mitochondrial DNA sequence of
 bases (“mtDNA”). Unlike nuclear DNA, mtDNA is inherited
 maternally and therefore may be shared by many persons within a
 population.

           Dr. Fisher will further testify that whereas nuclear
 DNA may not be extracted from hairs, mtDNA may. As to each of
 the exemplars in this case, Dr. Fisher will testify that she
 first extracted mtDNA from cells within blood, saliva or hair
 exemplars. The extracted DNA was then copied or amplified
 through a process known as PCR, which is then used to determine
 order of bases (i.e., sequencing) of the mtDNA in the exemplars.
 The sequence of bases in known and questioned exemplars were then
 compared, and the relative frequency of the appearance of these
 mtDNA is then calculate through the application of a database of
 over 5,000 samples. Statistical rates of error are applied where
 no such mtDNA has ever been observed in the FBI’s database.

           In July 2000, Nassau CSU Detective Michael Bayzelewicz
 took a buccal swab from the defendant Tarantino at the Willard
 correctional facility. The buccal swab was then transferred to
 FBI-Quantico and designated K-17.

           On March 27, 2002, Dr. Fisher reported that based on
 analyses of mitochondrial DNA sequences obtained from known and
 questioned samples analyzed up to that time, all Q samples could
 be excluded as originating from any of the K samples, with the
 exception of Tarantino's buccal swab K17, both of which contained
 the same mitochondrial DNA sequence. In sum, the mtDNA sequence
 obtained from COHH designated Q30 from the abandoned Chevy Blazer
 on June 23, 1994, see above, matched the mtDNA in the saliva
 sample obtained in July 2000 from the defendant.

           On December 13, 2010, Dr. Fisher reported, inter alia,
 that mtDNA obtained from Dorval's dried blood card recovered by
 the SCME, (K2), bore the same mtDNA as the COHH recovered from
Case 2:08-cr-00655-JS   Document 148   Filed 01/31/11   Page 12 of 12 PageID #: 700


                                                                               12

 the Chevy Blazer by Nassau CSU on June 23, 1994, and separated
 from Q30 by FBI-Quantico TEU examiner Sandra Koch, when the
 single COHH was redesignated Q34.1.

           In sum, two of the COHH (Q30 and Q34.1) recovered from
 the Chevy Blazer on June 23, 1994 bear the same mtDNA as two of
 the coconspirators responsible for the murder of Julius
 Baumgardt, i.e., Tarantino (K17) and Dorval (K2).

           The government reserves the right to call substitute
 expert witnesses, as well as to call additional expert witnesses,
 and will provide advance notice of any intent to do so.


                                                  Very truly yours,

                                                  LORETTA E. LYNCH
                                                  United States Attorney

                                           By:    /s/Carrie N. Capwell
                                                  Carrie N. Capwell
                                                  James M. Miskiewicz
                                                  Sean C. Flynn
                                                  Assistant U.S. Attorneys
                                                  (631) 715-7836/7841


 Enclosures as

 cc:   Clerk of the Court (JS) (By ECF; without enclosures)
       Co-counsel (By ECF; without enclosures)
